













NUMBER 13-09-00237-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

ADRIAN RODRIGUEZ, 	Appellant,


v.



DODEKA L. L. C.,	Appellee. 

	____________________________________________________________


On appeal from County Court at Law No. 4


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam


	The appellant's brief in the above cause was due on May 25, 2009.  On July 7,
2009, the Clerk of the Court notified appellant that the brief had not been timely filed and
that the appeal was subject to dismissal for want of prosecution under Texas Rule of
Appellate Procedure 38.8(a)(1), unless within ten days from the date of receipt of this
letter, appellant reasonably explained the failure and the appellee was not significantly
injured by the appellant's failure to timely file a brief.  To date, no response has been
received from appellant.  

	Appellant has failed to either reasonably explain the failure to file a brief, file a
motion for extension of time to file the brief, or file the brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 


									PER CURIAM

Memorandum Opinion delivered and

filed this 24th day of September, 2009. 





	


